                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


    BRAD AMOS,                                      )
                                                    )
          Plaintiff,                                )
                                                    )        NO. 3:21-cv-00923
    v.                                              )
                                                    )        JUDGE RICHARDSON
    THE LAMPO GROUP, LLC et al.,                    )
                                                    )
          Defendants.                               )


                                               ORDER

         Pending before the Court is an “expedited” joint motion (Doc. No. 156, “Motion to

Extend”) filed by Brad Amos (“Plaintiff”) and Jonathan Street (“Street”) (collectively,

“Movants”). Via the Motion to Extend, Movants seek to extend the deadlines1 for Movants to

respond to “Defendants’ Motion for Attorney’s Fees & Related Non-Taxable Expenses” (Doc. No.

142, “Motion for Fees”) and Defendants’ Bill of Costs (Doc. No. 141 “Bill of Costs”) to February

23, 2024.

         Also pending before the Court is “Jonathan A. Street’s Motion to Strike His Motion to Stay

[Doc. 151]” (Doc. No. 158, “Motion to Strike”) (collectively, with the Motion to Extend,

“Motions”) filed by Street. Via the Motion to Strike, Street asks the Court to strike the motion to

stay (Doc. No. 151) filed by Street on February 2, 2024. Defendants do not oppose the Motions.2




1
  The current deadlines for Movants to respond to Defendants’ Motion for Fees and Bill of Costs are
February 10, 2024 and February 9, 2024, respectively. The Court previously granted motions extending
each of those deadlines. (Doc. Nos. 147, 149).
2
  In their Motion to Extend, Movants stated that Defendants opposed the Motion to Extend. (Doc. No. 156).
However, Defendants have since filed a notice (Doc. No. 157) informing the Court that they have reviewed
the Motion to Extend and do not oppose it. Thus, the Court treats the Motion to Extend as unopposed.



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       The Motions (Doc. Nos. 156, 158) are GRANTED. Movants shall file their responses to

Defendants’ Motion for Fees and Bill of Costs on or before February 23, 2024. The clerk shall

strike Doc. No. 151 from the record.

       IT IS SO ORDERED.



                                                  __________________________________
                                                  ELI RICHARDSON
                                                  UNITED STATES DISTRICT JUDGE




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